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       THOMSON REUTERS (LEGAL) INC.
   8
   9                      UNITED STATES DISTRICT COURT
  10                   SOUTHERN DISTRICT OF CALIFORNIA
  11
     ANDRE F. TOCE, an individual, The        CASE NO.: 3:17−CV−603−AJB−BLM
  12 TOCE FIRM, APLC, GILBERT H.
     DOZIER, an individual, and
  13 ANDERSON & DOZIER, LLP,                  [Assigned to the Hon. Anthony J.
                                              Battaglia]
  14              Plaintiffs,
             v.
  15                             DEFENDANT THOMSON
     CAMERON RENTCH, WISE LAW    REUTERS (LEGAL) INC.’S
  16 GROUP, LLC, KERRY           MEMORANDUM OF POINTS AND
     STEIGERWALT, FORD &         AUTHORITIES IN SUPPORT OF
  17 ASSOCIATES NATIONWIDE LEGAL ITS EX PARTE APPLICATION TO
     SERVICES, APC, and THOMSON  SEAL PREVIOUSLY-FILED
  18 REUTERS AMERICA             DOCUMENTS
     CORPORATION,
  19
               Defendants.           Action Filed:                March 27, 2017
  20   THOMSON REUTERS (LEGAL) INC., Trial Date:                  None
  21
  22                     Cross-Complainant,
  23
             v.
  24
  25   B. CAMERON RENTCH and WISE
       LAW GROUP, LLC,
  26
  27                     Cross-Defendants.
  28


                      THOMSON REUTERS (LEGAL) INC.’S EX PARTE APPLICATION
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   1        Cross-Complainant Thomson Reuters (Legal) Inc. (“TR” or “Cross-
   2 Complainant”) applies to this Court for an order allowing it to seal the unredacted
   3 version of TR’s Exhibit A to its Cross-Complaint (ECF No. 15-1). Exhibit A, an
   4 asset purchase agreement (“the Agreement”) entered into by TR. TR seeks to redact
   5 the asset purchase agreement to remove reference to the purchase price paid for the
   6 assets in Article II, paragraph 2.1 of the Agreement and the amount of the
   7 indemnification caps listed in Article VII, paragraphs 7.7(c)–(d). The purchase price
   8 is not germane to the present dispute, and its public disclosure jeopardizes TR’s
   9 current and future business dealings and ongoing confidential negotiations. Further,
 10 public disclosure of the indemnification caps at issue could be used against TR in
 11 negotiations with third parties. Because of this, the Court should exercise its
 12 inherent authority to seal Exhibit A and to permit TR to file a version redacting the
 13 purchase price and amounts listed in paragraphs 2.1 and 7.7.
 14         Under Civil Local Rule 79.2 and the Court’s Chambers Rule IV, sensitive
 15 aspects of court-filed documents may be sealed upon court order.
 16 I.      BACKGROUND
 17         The present Cross-Complaint for indemnification arises out of the breach of a
 18 contractual duty owed to TR pursuant to the Agreement, attached as Exhibit A to
 19 TR’s Cross-Complaint against Cross-Defendants B. Cameron Rentch and Wise Law
 20 Group, LLC. TR entered into the Agreement with Cross-Defendants in May 2014
 21 that provided, in part, for indemnification. Cross-Defendants now deny that any
 22 request for indemnification is timely and have refused to indemnify TR.
 23         Because TR regularly enters into such agreements with multiple parties in the
 24 course of its business dealings and the purchase price and indemnification caps are
 25 subject to intense and confidential negotiation, TR now seeks an order to seal the
 26 unredacted Agreement and to publicly file a redacted version removing the specific
 27 amounts alleged.
 28 //
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                       THOMSON REUTERS (LEGAL) INC.’S EX PARTE APPLICATION
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   1 II.    ANALYSIS
   2        Attachments to a pleading may be sealed if the party attempting to seal the
   3 document can articulate a compelling reason to do so. McCrary v. Elations Co.,
   4 LLC, No. EDCV 13-00242 JGB OP, 2014 WL 1779243, at *6 (C.D. Cal. Jan. 13,
   5 2014); Kamakana v. City & County of Honolulu, 447 F.3d 1172, 1178 (9th Cir.
   6 2006) (articulating the compelling reason standard). In general, when a court file can
   7 “become a vehicle for improper purposes,” it should be sealed. Kamakana, 447 F.3d
   8 at 1178. Further, it is compelling if sealing will prevent judicial documents from
   9 being used as “sources of business information that might harm a litigant’s
 10 competitive standing.” Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978).
 11         Here, public disclosure of the amounts paid for the assets in question would
 12 directly harm TR’s ability to negotiate with its partners in the future. TR regularly
 13 negotiates these types of asset purchase agreements, and the amounts of both the
 14 purchase price and the attendant indemnity provisions are key terms that both TR’s
 15 competitors and other third-party partners can use to unfairly undermine TR’s
 16 competitive standing.
 17         Additionally, TR’s request is narrowly tailored to the most sensitive
 18 information contained within the Agreement. TR seeks to redact the amounts, but no
 19 other terms of the contract. The purchase price in question has no bearing on the
 20 underlying lawsuit and has minimal value to public disclosure. These are ordinarily
 21 confidential deal points, and TR should not be pressed into a competitive
 22 disadvantage simply by seeking to vindicate its rights under the Agreement.
 23 Accordingly, TR now applies for a court order to file its unredacted Exhibit A to its
 24 Cross-Complaint under seal.
 25 //
 26 //
 27 //
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                        THOMSON REUTERS (LEGAL) INC.’S EX PARTE APPLICATION
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   1 CONCLUSION
   2        For the foregoing reasons, TR respectfully requests that the Court grant its
   3 unopposed ex parte application to seal Exhibit A to TR’s Cross-Complaint.
   4
   5 June 27, 2017                          LTL ATTORNEYS LLP
   6
   7                                  By: s/ David W. Ammons
   8                                       James M. Lee
                                           David W. Ammons
   9                                       Alex H. Hu
 10                                        Attorneys for Defendant/Cross-Complainant
                                           Thomson Reuters America Corporation
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                       THOMSON REUTERS (LEGAL) INC.’S EX PARTE APPLICATION
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   1                             CERTIFICATE OF SERVICE
   2
     STATE OF CALIFORNIA)
   3 COUNTY OF LOS ANGELES)
   4       I am employed in the county of Los Angeles State of California. I am over
   5 the age of 18 and not a party to the within action; my business address is: 300 South
     Grand Ave., 14th Floor, Los Angeles, CA 90071.
   6
   7       On June 27, 2017, I served the foregoing document(s) described as
  8 DEFENDANT THOMSON REUTERS (LEGAL) INC.’S MEMORANDUM
    OF POINTS AND AUTHORITIES IN SUPPORT OF ITS EX PARTE
  9 APPLICATION TO SEAL PREVIOUSLY-FILED DOCUMENTS on the
 10 interested parties in this action.
 11         David H. Lawton, Esq.                Attorneys for Plaintiffs ANDRE F.
 12         The Gallagher Law Group PC           TOCE, THE TOCE
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 13         Los Angeles, CA 90067                AND ANDERSON & DOZIER, LLP
 14         310-203-2600
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 16         Jack Reynolds Leer                   Attorneys for Defendants Ford &
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            mahoney@wmalawfirm.com
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                                                 1
                                       CERTIFICATE OF SERVICE
Case 3:17-cv-00603-AJB-BLM Document 21-1 Filed 06/27/17 PageID.208 Page 6 of 6




     ^ [X] BY CM/ECF NOTICE OF ELECTRONIC FILING: I caused said
              document(s) to be served by means of this Court's electronic transmission of
     2        the Notice of Electronic filing through the Court's transmission facilities, to
     ^        the parties and/or counsel who are registered CM/ECF Users set forth in the
              service list obtained from this Court.
     4"
     ^ Executed on June 27, 2017, at Los Angeles, California.

     6 [X]    (Federal) I declare that I am employed in the office of a member of the bar of
     y        this court at whose direction the service was made.
     8
     g          Erik Jimenez Rodriguez
                       Print Name
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                                        CERimCATE OF SERVICE
